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               BRANDON STRAKA



                            Defendant




(name of person to be arrested)                         BRANDON STRAKA




18 U.S.C. 231(a)(3) - impeding law enforcement officer during civil disorder;
18 U.S.C. 1752(a)(1) and (2) - knowingly entering and remaining on restricted grounds without lawful authority
and/or engaging in disorderly conduct within proximity to a restricted building to impede official functions;
40 U.S.C. 5104(e)(2)(D) - engage in disorderly conduct with intent to disturb a hearing before Congress.


               01/20/2021
                                                                            Issuing officer’s signature

                                                                                                           _
                                                                              Printed name and title




                                        (date)                                               (date)
  (city and state)



                                                                           Arresting officer’s signature



                                                                              Printed name and title
